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                                           UNITED STATES DISTRICT COURT
                                                   District of Oregon
UNITED STATES OF AMERICA                                                            JUDGMENT IN A CRIMINAL CASE
                                                                                    (For Offenses Committed On or After November 1, 1987)
                    v.

VICKY VILLALOBOS                                                                    Case Number: CR 07-15-01-KI
                                                                                    USM No. 70126-065

                                                                                    Thomas J. Hester, AFPD
                                                                                    101 SW Main Street, Suite 1700
                                                                                    Portland, Oregon 97204
                                                                                    Defendant's Attorney

THE DEFENDANT:
XX         pleaded guilty to count(s) ONE (1) of the Superseding Information
           pleaded nolo contender to count(s) _ which was accepted by the court.
           was found guilty on count(s) _ after a plea of not guilty.

         Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):


                                                                                                               Date Offense         Count
 Title & Section         Nature of Offense                                                                     Concluded            Number(s)

 21 USC §                Possession With Intent to Distribute Methamphetamine                                  May 11, 2006
 841(a)(1) and
 (b)( I)(B)(viii)


        The defendant is sentenced as provided in pages 2 through        6      of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

                    The defendant has been found not guilty on count(s) _ . and is discharged as to such count(s).
                    Count(s) _ (is)(are) dismissed on the motion of the United States.
                    The pending Indictment is dismissed on the motion of the United States.
                    Defendant shall pay a special assessment in the amount of$ 100.00 for Count(s) ONE (n ofthe Superseding
                    Information payable immediately to the Clerk, U.S. District Court, 740 U. S. Courthouse, 1000 S.W. Third Avenue,
                    Portland, Oregon 97204.

          IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant shall notify the court and the United States Attorney of any material change in the defendant's economic
circumstances.


                                                                             Date ofImposition of Sentence:        March 17, 2008




                                                                             Signature of Judicial Officer
                                                                             Garr M. Kin United States District Jud e
                                                                             Name & Title of Judicial Officer

                                                                             Date: March     I!!,          ,2008
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Defendant: VICKY VILLALOBOS
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                                                                  IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of SEVENTY-
TWO (72) months. *


XX       The court makes the following recommendations to the Bureau of Prisons: The court recommends designation at FCI
         SeaTac and that given the defendant's past history of alcohol and drug use, the defendant should be allowed to participate
         in the intensive DAP program while incarcerated.


         The defendant is remanded to the custody of the United States Marshal.

         The defendant shall surrender on          May 1, 2008     as notified by the United States Marshal and/or Pretrial Services.

*        The Bureau of Prisons will determine the amount of prior custody that may be credited towards the service of sentence as authorized
         by Title 18 U.S.C. 3585(b) and the policies of the Bureau of Prisons.

                                                                     RETURN
         I have executed this judgment as follows:




         Defendant delivered on:                             to                                                                    at

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-', with a certified copy of this judgment.


                                                                                    United States Marshal

                                                                           By                                                           _
                                                                                    Deputy Marshal
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Defendant: VICKY VILLALOBOS
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                                                            SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5)           years.


For offenses committed on or after September 13, 1994:

         The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter.

                   The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
                   substance abuse.

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any such
fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment.

                    The defendant shall comply with the Standard Conditions of Probation and Supervised Release that have been adopted by this
court as set forth below. The defendant shall also comply with any additional Special Conditions of Supervision set forth below.


                                             SPECIAL CONDITIONS OF SUPERVISION


          1.       The defendant shall cooperate in the collection of DNA as directed by the probation officer, if required
                   bylaw.

         2.        The defendant shall participate in a mental health treatment program approved by the probation officer.

         3.        As directed by the probation officer, the defendant shall take psychotropic medication, if medically
                   approved, for the treatment of a mental or emotional disorder.

         4.        The defendant shall not possess or consume alcohol or enter an establishment where alcohol is the
                   primary item for sale.
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Defendant: VICKY VILLALOBOS
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                           STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

         The Judges of the District of Oregon adopt the following standard conditions of probation and supervised release to apply in every
case in which probation and/or supervised release is imposed upon a defendant. The individual judge may impose other conditions deemed
advisable in individual cases of probation or supervised release supervision, as consistent with existing or future law.


1.       The defendant shall report in person to the probation office for the district to which he or she is released within 72 hours of release from the custody
         of the Bureau of Prisons.

2.       The defendant shall not commit another federal, state or local crime and shall not illegally possess a controlled substance. Revocation of probation
         or supervised release is mandatory for illegal possession of a controlled substance.

3.       The defendant shall not possess a firearm, destructive, or dangerous device.

4.       If the defendant illegally uses drugs or abuses alcohol, has a history of drug or alcohol abuse, or drug use or possession is determined to be an
         element of the defendant's criminal history or instant offense, the defendant shall participate in a substance abuse treatment program as directed by
         the probation officer which may include urinalysis testing to determine if the'defendant has used drugs or alcohol. In addition to urinalysis testing
         that may be part of a formal drug treatment program, the defendant shall submit up to eight (8) urinalysis tests per month.

S.       The defendant shall submit to a search of his/her person, residence, office or vehicle, when conducted by a United States Probation Officer at a
         reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of supervision.
         Failure to submit to a search may be grounds for revocation. The defendant shall warn any other residents that the premises may be subject to
         searches pursuant to this condition.

6.       The defendant shall not leave the judicial district without the permission ofthe court or probation officer.

7.       The defendant shall report to the probation officer as directed by the court or probation officer, and shall submit a truthful and complete written
         report within the first five days of each month.

8.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer. The defendant may
         decline to answer inquiries if a truthful response would tend to incriminate him! her. Such a refusal to answer may constitute grounds for revocation.

9.       The defendant shall support hisl her dependents and meet other family responsibilities to the best of his or her financial ability.

10.      The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable reasons.

11.      The defendant shall notify the probation officer within 72 hours of any change in residence or employment.

12.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any narcotic or other
         controlled substance, or any paraphernalia related to such substances, except as prescribed by a physician. If at any time, the probation officer has
         reasonable cause to believe the defendant is using illegal drugs or is abusing alcohol, the defendant shall submit to urinalysis testing, breathalyzer
         testing, or reasonable examination of the' arms, neck, face, and lower legs.

13.      The defendant shall not knowingly frequent places where controlled substances are illegally sold, used, distributed, or administered.

14.      The defendant shall not knowingly associate with any persons engaged in criminal activity, and shall not knowingly associate with any person
         convicted of a felony unless granted permission to do so by the probation officer.

IS.      The defendant shall permit a probation officer to visit himlher at any reasonable time at home or elsewhere, and shall permit confiscation of any
         contraband observed in plain view by the probation officer.

16.      The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer.

17.      The defendant shall not enter into any agreement to act as an informant or special agent of a law enforcement agency without the permission of the
         court.

18.      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by his or her criminal record or personal
         history and characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with such a
         notification requirement. This requirement will be exercised only when the probation officer believes a reasonably foreseeable risk exists or a law
         mandates such notice. Unless the probation officer believes the defendant presents an immediate threat to the safety of an identifiable individual,
         notice shall be delayed so the probation officer can arrange for a court hearing and the defendant can obtain legal counsel.
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                                                  CRIMINAL MONETARY PENALTIES
        The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set forth in this
judgment.


                                                             Restitution                                                                 TOTAL

 $                                                                    $                                                                        $




XX       No fine is being ordered in this matter as the defendant has no financial resources nor appreciable earning ability.

         The determination of restitution is deferred until_ An Amended Judgment in a Criminal Case (AD 245c) will be entered after such
         determination.

         The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §3664(I), all non-federal victims must be paid in
full prior to the United States receiving payment.


                                                                      *Total                       Amount of                     Priority Order or

                    Name of Payee                                Amount of Loss               Restitution Ordered              Percentage of Payment




 TOTALS                                                      $                            $

         If applicable, restitution amount ordered pursuant to plea agreement $ _

         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on the Schedule of Payments
         may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

         The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

                                       The interest requirement is waived for the _ fine and/or
                                                      restitution.
                                       The interest requirement for the _ fine and/or _ restitution is modified as follows:


                             Any payment shall be divided proportionately among the payees named unless otherwise specified.

         *Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 United States Code, for
offenses committed on or after September 13, 1994 but before April 23, 1996.
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Defendant: VICKY VILLALOBOS
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                                          SCHEDULE OF PAYMENTS - Supervised Release

         Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A                  Lump sum payment of $ _         due immediately in full.

                             not later than _ , or
                             in accordance with C _          or D _    below; or

B                  Payment to begin immediately (may be combined with C _              or D _   below);

C                  If there is any unpaid balance at the time of defendant's release from custody, it shall be paid in monthly installments of not
                   less than $_ over a period of_ months to commence immediately upon release from imprisonment.

D                  Special instruction regarding the payment of criminal monetary penalties:



         Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalties, except those
payments made through the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court at the
address below, unless otherwise directed by the court, the probation officer, or the United States attorney.

                                                                  Clerk, US District Court
                                                                 1000 S.W. Third Avenue
                                                                          Suite 740
                                                                 Portland, OR 97204-2902

         The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

         Joint and Several
                  Defendant Name, Case Number, and Joint and Several Amount:

          The defendant shall pay the cost of prosecution.

          The defendant shall pay the following court costs:

XX       The defendant shall forfeit to the United States Government:

         All property, currency, and assets as stated in the Preliminary Order of Forfeiture and Final Order of Forfeiture
         signed by the court on December 19, 2007.


       Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
community restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.
